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PATRICIA S. DODSZUWEIT         UNITED STATES COURT OF APPEALS                  TELEPHONE
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                                  Website: www.ca3.uscourts.gov

                                          January 5, 2023


James M. Trusty
1717 Pennsylvania Avenue, N.W.
Washington, DC 20006


RE: USA v. Benjamin Gutman
Case Number: 22-3356
District Court Case Number: 1-20-cr-00298-002

Dear Counsel:

Pursuant to our docketing letter dated December 19, 2022, you were requested
electronically file or complete the following in the above-entitled case:

Appearance Form
Information Statement
Transcript Purchase Order Form

The above listed forms must be completed within fourteen (14) days of the date of
this letter. The forms are available at this court's website.

IF YOU FAIL TO COMPLY, THE CASE WILL BE DISMISSED PURSUANT
TO 3d Cir. L.A.R MISC. 107.1(b) and/or 107.2(a).
Very truly yours,
Patricia S. Dodszuweit, Clerk


By: s/Laurie
Case Manager
267-299-4936

cc: Carlo D. Marchioli, Esq.
